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 8                           UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10                                WESTERN DIVISION
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12   SAMUEL JOHNSON,                     CASE NO: 2:17-cv-04600-JAK (PJWx)
13
                Plaintiff,               ORDER RE JOINT STIPULATION TO
14                                       DISMISS ACTION WITH PREJUDICE
15
     v.

16
     WELLS FARGO BANK, N.A.; and
     DOES 1 through 10, inclusive,
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                Defendants.
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 1         On July 24, 2018, the parties jointly submitted a Stipulation to Dismiss Action
 2   With Prejudice to the Court.
 3         Accordingly, the Stipulation is GRANTED. The instant matter is dismissed with
 4   prejudice, with the parties bearing their own respective attorneys’ fees and costs.
 5         IT IS SO ORDERED.
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 8   Dated: July 25, 2018                   _________________________________
 9                                          JOHN A. KRONSTADT
                                            U.S. DISTRICT JUDGE
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